Case 1:24-cv-08092-JLR Document 11

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

Filed 02/07/25 Pagelof1

TAVON TURNER, on behalf of himself and
all others similarly situated,

Plaintiff,
-against-
STAGE ONE CANNABIS, LLC,

Defendant.

Case No. 24-cv-8092

NOTICE OF APPEARANCE

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PLEASE TAKE NOTICE THAT, Law Office of Cesar A. Fernandez, P.C. hereby appears on

behalf of Defendant, STAGE ONE CANNABIS, LLC, in the instant matter, and demands a copy

of all proceedings and pleadings be served on the undersigned via ECF.

Dated: New York, New York
February 7, 2025

Law Office of Cesar A. Fernandez, P.C.

s/Cesar A. Fernandez

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